        Case 18-02036-jw            Doc 20 Filed 08/20/18 Entered 08/20/18 14:14:18                            Desc Order
                                        Confirming Ch 13 Plan Page 1 of 1
                                                 United States Bankruptcy Court
                                                    District of South Carolina



Case Number: 18−02036−jw                                           Chapter: 13

In re:
 Calvin Reginald Greene Jr.
 aka Calvin R Greene, aka Calvin Reginald Greene II, aka
 Calvin R Greene Jr., aka Calvin Greene Jr., aka Calvin
 Greene, aka Calvin R Greene II, aka C R Greene
                                                                                                          Filed By The Court
     Entered By The Court          ORDER CONFIRMING PLAN AND RESOLVING MOTIONS                                 08/20/18
           08/20/18                                                                                          Laura A. Austin
                                                                                                              Clerk of Court
                                                                                                           US Bankruptcy Court


It having been determined after notice and hearing that the plan filed by the debtor(s) on 07/18/2018, with the stipulation filed on
N/A, complies with the provisions of Chapter 13 (11 U.S.C. § 1301 et seq.), and with all other applicable provisions of Title 11 of
the United States Code and that all fees and charges to be paid before confirmation have been paid;

        IT IS ORDERED THAT:

1.      The plan is confirmed.

2.      The debtor shall not incur indebtedness nor sell, encumber, or otherwise transfer any interest in estate property outside
        the ordinary course of business without approval of the court.

3.      The court hereby values secured claims and voids liens as set forth in the confirmed plan or as established by separate
        order to the extent permitted by 11 U.S.C. § 506 (a), 506(d), § 1325(a), and applicable law.

4.      Pursuant to 11 U.S.C. § 522(f)(1)(A) and/or (B), the court hereby finds that the security interests to be avoided as set forth
        in the confirmed plan or by separate order impair an exemption to which the debtor would otherwise be entitled under 11
        U.S.C. § 522(b) and South Carolina Code § 15−41−30 and are, therefore, avoided.

        AND IT IS SO ORDERED.




                                                                    United States Bankruptcy Judge
